17-11542-mg   Doc 111-2 Filed 02/14/20 Entered 02/14/20 18:55:21   Exhibit Ex. B
                       - Cash Flow Projections Pg 1 of 2




                             EXHIBIT B
                                                                       17-11542-mg                      Doc 111-2 Filed 02/14/20 Entered 02/14/20 18:55:21                                                  Exhibit Ex. B
                                                                                                                 - Cash Flow Projections Pg 2 of 2

           Joe's Place of the Bronx, Inc.
           Cash Flow Projections, FY 2019
           AS OF 05/31/2019

                                      ACTUAL       PROJ          ACTUAL           PROJ           ACTUAL       PROJ           ACTUAL      PROJ           ACTUAL       PROJ             PROJ        PROJ        PROJ        PROJ         PROJ         PROJ          PROJ        PROJ      FORECAST
                                     1/31/2019   1/31/2019      2/28/2019       2/28/2019       3/31/2019   3/31/2019       4/30/2019   4/30/2019       5/31/2019   5/31/2019       6/30/2019   7/31/2019   8/31/2019   9/30/2019   10/31/2019   11/30/2019    12/31/2019     2019       4/30/2019
                                                            |                               |                           |                           |                           |
                                                            |                               |                           |                           |                           |
Revenue:                                                    |                               |                           |                           |                           |
           Credit Cards                49,269       50,000 |       60,240          65,000   |     52,658       62,000   |      69,854     69,000    |     67,158      80,000    |     75,000      81,000      58,700      57,875       57,500       50,000        68,000     747,254      759,242
           Cash                        17,839       13,200 |       27,803          32,000   |     19,645       23,500   |      27,396     23,000    |     10,027      13,000    |     23,000      25,000      29,000      27,500       23,000       22,000        37,000     289,210      287,787
           Other Credits                6,204        4,500 |        5,509           2,000   |      2,281        1,000   |       3,979      7,000    |      5,354       3,500    |      3,000       4,000       3,200       2,000       10,000        4,400         5,000      54,927       56,094
                                                            |                               |                           |                           |                           |
Total Revenue                          73,312       67,700 |       93,552          99,000   |     74,584       86,500   |     101,229     99,000    |     82,539      96,500    |    101,000     110,000      90,900      87,375       90,500       76,400       110,000    1,091,391   1,103,123
                                                            |                               |                           |                           |                           |
Cost of Goods Sold                                          |                               |                           |                           |                           |
                                                            |                               |                           |                           |                           |
           Food                        40,751       28,000 |       34,225          35,000   |      29,485      29,800   |      38,551     41,000    |     32,122      37,000    |      33000      44,000      34,600      38,500       36,500       35,000        33,000     429,734      437,061
           Liquor                       1,269          500 |                        1,000   |         412         500   |         563        500    |                    500    |        500       1,000         400         500        1,300          500                     6,444        6,881
           Linens                       1,822          900 |        1,434             900   |         626         900   |         960        900    |      1,113         900    |        900         900       1,000         600          800        1,300         1,000      12,455       12,182
           Payroll Taxes                1,988        6,000 |        4,558           5,000   |       3,628       5,000   |       4,862      5,000    |      5,859       5,000    |      7,000       7,000       2,200       3,300        4,200        4,500         3,800      52,895       52,174
           Wages                        5,469        4,500 |                        9,000   |       5,532       8,000   |       5,736      8,000    |      5,149       8,000    |     10,000      10,000       5,300       2,200        6,300        4,600         7,100      67,386       72,501
                                                            |                               |                           |                           |                           |                                                                                                  -
Total Cost of Goods Sold               51,299       39,900 |       40,217          50,900   |      39,683      44,200   |      50,672     55,400    |     44,243      51,400    |     51,400      62,900      43,500      45,100       49,100       45,900        44,900     568,914      580,799
                                                            |                               |                           |                           |                           |
Gross Profit                           22,013       27,800 |       53,335          48,100   |      34,901      42,300   |      50,557     43,600    |     38,296      45,100    |     49,600      47,100      47,400      42,275       41,400       30,500        65,100     522,477      522,324
                                                            |                               |                           |                           |                           |
Admistrative Costs:                                         |                               |                           |                           |                           |
                                                            |                               |                           |                           |                           |
           Insurance                    2,348        1,500 |        1,160           1,500   |       1,160       1,500   |                  1,500    |                  1,500    |      1,500       1,500       1,400       1,400        1,400        1,400         1,400      14,668       17,668
           Payroll Expenses             4,653        1,500 |       10,417           2,000   |       3,250       1,000   |         954      1,000    |                  1,000    |      1,000       1,000       1,200       2,200        1,500        1,000           600      27,774       28,820
           Sales Tax                    7,920        7,000 |        7,260          15,000   |       7,772      13,000   |       3,318     10,000    |     11,250       9,000    |      9,000       9,000       5,000      15,000        7,900        7,600         7,500      98,520      102,952
           Office Expenses                             500 |                          500   |       1,591         500   |         400        500    |        410         500    |        200         300         200                      200                                  3,301        3,491
           Security                         57              |         579                   |         527               |          57               |         57                |                                                                      400           500       2,177        2,063
           Court Charges                               950 |        2,935                   |                    950    |         976               |        976         950    |                    950       3,900                    1,000                                 10,737        9,735
           Professional Fees                           350 |           57             750   |                    350    |                    750    |                    350    |        350         500                     450                       350                     1,707        2,807
           Equipment Rental                 62         500 |                          500   |        700         500    |                    500    |                    500    |        500         490                                                              10       1,762        2,762
           Repairs                                          |                         250   |                           |                    250    |                           |        200                                                                                     200          450
           State & City taxes           3,245               |                         150   |                           |         280        150    |                           |        150                     600                      500                        600       5,375        5,245
           Credit Card Expenses           342          300 |          88              300   |         88          300   |          88        300    |         88         300    |      1,200         300         300         300          300          300           300       3,694        4,118
           Human Resources                205          205 |                          205   |                     205   |                    205    |                    205    |      1,000         205         845         600          200          325           300       3,680        4,090
           Cable                          485          450 |          486             450   |         500         450   |         500        450    |        500         450    |        450         450         800         400          500          150         1,000       6,221        6,121
           Waste Management             1,350        1,100 |        1,250           1,100   |       1,398       1,100   |       1,750      1,100    |      1,494       1,100    |      2,100       2,100       1,300       1,600        2,000        1,300         1,600      19,242       18,198
           Mintenance and Cleaning        160          300 |          160           1,000   |         160       1,400   |         168      1,000    |        718       1,400    |      1,100       1,400         200                      200                      1,000       5,266        6,780
           Utilities                    6,933        6,000 |        3,717           6,000   |                   6,300   |                  6,000    |      1,000       6,300    |      6,500       6,000       8,200       6,700        4,300        6,000        12,300      61,650       72,950
           Rent & Property Taxes                    12,075 |       18,000          12,075   |      15,500      12,075   |      18,000     12,075    |     14,000      12,075    |     12,075      12,075      12,075      12,075       12,075       12,075        12,075     150,025      142,175
           Back Rent Payments             175        1,200 |                        2,200   |                   1,200   |                  2,200    |                  4,200    |      2,200       5,300       1,200       2,200        1,200        2,200         1,200      15,675       22,075
           Bank Charges                                150 |         385              150   |        280          150   |          25        150    |        315         150    |        150         150         350         385          600          315           525       3,480        3,440
                                                            |                               |                           |                           |                           |
                                                            |                               |                           |                           |                           |
Total Administrative Costs             27,935       34,080 |       46,494          44,130   |      32,926      40,980   |      26,516     38,130    |     30,808      39,980    |     39,675      41,720      37,570      43,310       33,875       33,415        40,910     435,154      455,940
                                                            |                               |                           |                           |                           |
CASH PROFIT (LOSS)                     (5,922)      (6,280) |       6,841           3,970   |       1,975       1,320   |      24,041      5,470    |      7,488       5,120    |      9,925       5,380       9,830      (1,035)       7,525        (2,915)      24,190      87,323       66,384

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